/5\ Case 1:05-cv-OlO44-.]DT-STA Document 5 Filed 05/20/05 Page 1 of 3 Pa@|/<D 9

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IN THE UNITED STATES DISTRICT COU'RT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JAMES D. MEADOWS

 

case No. 05-1044-T/AN v
Jury Demand

VS.

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WAL-MART STORES, INC.
AGREED ORDER OF DISMISSAL WITH PREJUDICE

It appears to the Court, as evidenced by the signatures of
ctansel beiuw, that all matters in controversy have been
Compromised and settled.

It is therefore ORDERED, ADJUDGED AND DECREED that this
matter is hereby dismissed with prejudice, and the costs Of this
cause are taxed to defendant.

IT IS SO ORDERED.

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This ézg day Of ___, 2005.

Thls document entered on the docket shoot_ ln compliance
with Ru\e 58 and.'or_?§ (a) FRCP on

Case 1:05-cv-01044-.]DT-STA Document 5 Filed 05/20/05 Page 2 of 3 Page|D 10

APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01044 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

